  Case 2:16-cv-12140-GCS-MKM ECF No. 61 filed 08/27/18                      PageID.1101       Page 1 of 1
MIE 800 Generic Notice of Hearing (Rev. 3/98)

                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

Fair Housing Center of Metropolitan Detroit, et al.,
                                                        Case Number: 16-12140
       Plaintiffs,
v.                                                      District Judge George Caram Steeh
                                                        Magistrate Judge Mona K. Majzoub
Iron Street Properties, LLC, et al.,

        Defendants.                    /

     AMENDED NOTICE AND ORDER TO APPEAR FOR SETTLEMENT CONFERENCE

     You are hereby notified to appear before the Honorable Mona K. Majzoub, United States Magistrate
Judge for the above proceeding on:

                     DATE                           TIME                           ROOM
                                                                      Theodore Levin U.S. Courthouse
             October 22, 2018                      9:30 am              231 W. Lafayette, Room 642
                                                                          Detroit, Michigan 48226


        *Counsel, the parties and decision makers with full settlement authority are ordered
     to appear in person. Any party and/or any party’s representative with ultimate settlement
           authority who fails to attend in person will be held in contempt of this court.



 Dated: August 27, 2018                       s/ Mona K. Majzoub
                                              UNITED STATES MAGISTRATE JUDGE




                                           PROOF OF SERVICE

      I hereby certify that a copy of this Notice was served upon the parties and/or counsel of record on this
date by electronic and/or first class mail.

                                               s/ Leanne Hosking
                                               Case Manager
                                               313-234-5206 desk, 313-234-5495 (Fax)
